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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )
                        Plaintiff,                  )
                                                    )
                 v.                                 )        Case No. 09-20133
                                                    )
GLADSTONE MCDOWELL                                  )
                                                    )
                        Defendant.                  )
                                                    )



                            MEMORANDUM AND ORDER

       Defendant Gladstone McDowell has filed a motion requesting a “copy of original

indictment certification that took place on November 5th, 2009 in the State of Kansas”

(doc. 956). Mr. McDowell admitted that he has a copy of the indictment, but he wishes

to examine the original document for defects, particularly relating to signing and

certification.

       Rule 7 of the Federal Rules of Criminal Procedure requires that an indictment

“must be a plain, concise, and definite written statement of the essential facts constituting

the offense charged and must be signed by an attorney for the government.” Fed. R.

Crim. P. 7(c)(1). Mr. McDowell contends that the indictment1 in this case does not

contain the government attorney’s signature.

       1
        His motion references only the original indictment filed on November 5, 2009,
but he would presumably raise the same challenge to the superceding indictment as well.
The court will address both documents.
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       The indictment issued in Kansas on November 5, 2009, is on file as document 1,

and the superceding indictment, issued November 4, 2010, is document 497. Both

contain “s/Kim I. Martin, # 13407 for” the United States Attorney on the signature line.

Pursuant to the local District of Kansas rules, this electronic signature satisfies the

signature requirement of the Federal Rules. Specifically, Rule 5.4.8 provides that an

attorney’s user log-in and password, which are required to submit documents to the

court’s Electronic Filing System, serve as that user’s signature for all documents filed

electronically. D. Kan. Rule 5.4.8(a). Similarly, signatures of non-Filing Users may be

filed electronically as an “s/” and the name typed in the space where the signature would

otherwise appear. D. Kan. Rule 5.4.8(c). Ms. Martin has satisfied the local filing

requirements and her electronic signature is sufficient for purposes of the indictment.

       Mr. McDowell also contends that the indictment should bear the “seal

certification from issuing courts clerk.” He cites no authority for that proposition, and

indeed the court can find none.2

       Thus, Mr. McDowell has identified no reason why he would need any additional



       2
        Rule 6 of the Federal Rules of Criminal Procedure allows a judge to order that
an indictment be kept secret until the defendant is in custody or has been released
pending trial. “The clerk must then seal the indictment, and no person may disclose the
indictment’s existence except as necessary to issue or execute a warrant or summons.”
Fed. R. Crim. P. 6(e). But that “seal” involves merely filing the document with restricted
access, as was done in this case with the original indictment. It does not, however,
involve actually affixing a seal or other certification to the indictment.



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or different copies of the indictments in this case; the defects he surmises do not exist.

His motion his denied.

       Mr. McDowell filed a similar motion regarding an indictment from the State of

Missouri (doc. 957). No indictment was issued in Missouri in this case, and so that

motion is denied as well.




       IT IS THEREFORE ORDERED BY THE COURT that the defendant’s

motions for copies of indictments (docs. 956 & 957) are denied.



       IT IS SO ORDERED this 27th day of April, 2011.


                                    s/ John W. Lungstrum
                                    John W. Lungstrum
                                    United States District Judge




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